Filing Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 1 of 14
       # 126955647   E-Filed 05/17/2021 03:43:00 PM


                         IN THE COUNTY COURT OF THE 17th JUDICIAL CIRCUIT
                              IN AND FOR BROWARD COUNTY, FLORIDA

                                                     Case No. COCE-20-027683
        ABDEL ZAHRIYEH,

               Plaintiff,
        v.

        FH CANN & ASSOCIATES INC.,

              Defendant.
        _______________________________________/

                              UNOPPOSED MOTION TO AMEND AND TRANSFER

               Plaintiff Abdel Zahriyeh (“Plaintiff”) files this Motion to Amend and Transfer and states:

               1.         On February 12, 2021, Plaintiff sued Defendant FH Cann & Associates Inc

        (“Defendant”) for violating the Florida Consumer Collection Practices Act (“FCCPA”) and Fair

        Debt Collection Practices Act (“FDCPA”).

               2.         Subsequent to the commencement of the above-captioned action, Plaintiff learned

        of additional claims against Defendant arising under the FDCPA. These claims arise from

        Defendant’s communication and/or transmission of Plaintiff’s personal information to third-party,

        whereby said claims are set forth in further detail in the attached First Amended Complaint

        (Exhibit “A”).

               3.         Further, in light of the newly learned claims had by Plaintiff, Plaintiff has

        recalculated the amount of actual damages reasonable believed to have been sustained by Plaintiff

        as a result of Defendant’s alleged violations of the FDCPA and FCCPA, whereby said newly

        calculated damages exceed $8,000, by are otherwise less than $15,000.

               4.         Additionally, subsequent to the commencement of the above-captioned action,

        Plaintiff learned that one of the original claims levied against Defendant, namely, that Defendant

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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 2 of 14




   did not possess a valid Consumer Collection Agency license, is moot and/or otherwise not

   actionable, as Defendant has produced to Plaintiff a copy of a valid Consumer Collection Agency

   license.

           WHEREFORE, Plaintiff requests leave to file amended pleadings, a proposed copy of

   which are attached hereto, to seek additional claims and actual damages in an amount above-and-

   beyond what Plaintiff currently seeks in the operative pleadings and, in light of the damages now

   sought by Plaintiff, transfer Plaintiff’s case from Small Claims to County Court.

           Dated: May 17, 2021
                                                                             Respectfully Submitted,

                                                                              /s/ Thomas J. Patti                              .
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                                                                             Florida Bar No.: 118259
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                                                                             THOMAS J. PATTI, ESQ.
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                                                                             Fax:      855-529-9540

                                                                             COUNSEL FOR PLAINTIFF

                                           CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on May 17, 2021, the foregoing was electronically

   filed with the Clerk of the Court using the Florida e-Filing portial, which will send a notice of

   electronic filing to all counsel of record.

                                                                              /s/ Thomas J. Patti                              .
                                                                             THOMAS J. PATTI, ESQ.
                                                                             Florida Bar No.: 118377




                                                                                                                   PAGE | 2 of 2
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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 3 of 14




                       EXHIBIT “A”
                    TO THE MOTION TO AMEND AND TRANSFER
Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 4 of 14




                    IN THE COUNTY COURT OF THE 17th JUDICIAL CIRCUIT
                         IN AND FOR BROWARD COUNTY, FLORIDA

                                               Case No. COCE-21-007635

   ABDEL ZAHRIYEH,

          Plaintiff,
   v.
                                                                                  JURY TRIAL DEMANDED
   FH CANN & ASSOCIATES INC,
                                                                                  INJUNCTIVE RELIEF SOUGHT
         Defendant.
   _______________________________________/

                                          FIRST AMENDED COMPLAINT

          Plaintiff Abdel Zahriyeh (“Plaintiff”) sues Defendant FH Cann & Associates, Inc.

   (“Defendant”) for violations the Florida Consumer Collection Practices Act (“FCCPA”) and the

   Fair Debt Collection Practices Act (“FDCPA”)

                                            JURISDICTION AND VENUE

          1.         This Court has subject matter jurisdiction over Plaintiff and Defendant

   (collectively, the “Parties”), because the cause of action arises within the jurisdiction of this Court

   and, thus, venue and jurisdiction are proper.

          2.         This Court has personal jurisdiction over Defendant because Defendant is

   operating, present, and/or doing business within this jurisdiction and because the complained of

   conduct of Defendant occurred within Broward County, Florida.

          3.         The amount in controversy is greater than $8,000, but does not exceed $15,000,

   exclusive of costs, interest, and attorneys’ fees, and is otherwise within this Court’s jurisdiction.

          4.         Venue of this action is proper in this Court because, pursuant to Fla. Stat. § 47.011,

   et seq., the cause of action alleged below arose in Broward County Florida.


                                                                                                                   PAGE | 1 of 8
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                                                             PARTIES

           5.         Plaintiff is a natural person, and a citizen of the State of Florida, residing in Broward

   County, Florida.

           6.         Defendant is a Massachusetts limited liability company, with its principal place of

   business located in North Andover, Massachusetts.

                                             DEMAND FOR JURY TRIAL

           7.         Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                               FACTUAL ALLEGATIONS

           8.         On a date better known by Defendant, Defendant began attempting to collect a debt

   (the “Consumer Debt”) from Plaintiff.

           9.         The Consumer Debt is an obligation allegedly had by Plaintiff to pay money arising

   from a transaction between the original creditor of the Consumer Debt and Plaintiff involving the

   provision of unsecured funds to Plaintiff for the furtherance of Plaintiff’s academic endeavors (the

   “Subject Service”).

           10.        The Subject Service was primarily for personal, family, or household purposes.

           11.        Defendant is a business entity engaged in the business of soliciting consumer debts

   for collection.

           12.        Defendant is a business entity engaged in the business of collecting consumer debts.

           13.        Defendant regularly collects or attempts to collect, directly or indirectly, debts

   owed or due or asserted to be owed or due another.

           14.        Defendant is registered with the Florida Office of Financial Regulation as a

   “Consumer Collection Agency.”




                                                                                                                    PAGE | 2 of 8
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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 6 of 14




          15.      Defendant maintains all the records specified in Rule 69V-180.080, Florida

   Administrative Code.

          16.      The records specified by Rule 69V-180.080, Florida Administrative Code, of which

   Defendant does maintain, are current to within one week of the current date.

          17.      Defendant is a “debt collector” within the meaning of 15 U.S.C. § 1692a(6).

          18.      Defendant is a “person” within the meaning of Fla. Stat. § 559.72.

          19.      On a date better known by Defendant, Defendant transmitted Plaintiff’s personal

   information to a third-party (the “Third-Party”).

          20.      The personal information Defendant transmitted to the Third-Party included, but

   was not limited to: [1] Plaintiff’s name; [2] Plaintiff’s address; [3] the existence of the Consumer

   Debt; [4] the amount of the consumer debt; [5] the creditor of the Consumer Debt; [6] that Plaintiff

   was the alleged debtor of the Consumer Debt; [7] information regarding the Subject Service; and

   [8] that Plaintiff did not pay the Consumer Debt and/or defaulted on the Consumer Debt

   (collectively, the “Transmitted Information”).

          21.      The Third-Party, of whom Defendant transmitted Plaintiff’s personal information

   to, complied Plaintiff’s personal information and prepared a letter that was to be sent to Plaintiff

   in an attempt to collect the Consumer Debt.

          22.      The Transmitted Information affected Plaintiff’s reputation. For example, the

   transmission of such information affected Plaintiff’s reputation regarding the repayment of debts,

   Plaintiff’s reputation of truthfulness, Plaintiff’s reputation of solvency, and Plaintiff’s reputation

   regarding trustworthiness.

          23.      Defendant’s transmission of Plaintiff’s personal information to the Third-Party was

   a communication in connection with the collect of the Consumer Debt.

                                                                                                                 PAGE | 3 of 8
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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 7 of 14




          24.      In addition to transmitting Plaintiff’s personal information to the Third-Party,

   Defendant also transmitted Plaintiff’s personal information to other third-party entities in

   connection with the collection of the Consumer Debt. Defendant transmitted such information to

   these other third-party entities by, including but not limited to: [1] utilizing “skip trace” services;

   [2] utilizing bankruptcy, SCRA, probate, and other “scrubbing” services; and [3] utilizing

   independent third-party contractors to attempt to collect the Consumer debt from Plaintiff.

          25.      On a date better known by Defendant, Defendant sent the letter prepared and/or

   complied by the Third-Party to Plaintiff, of which was internally dated January 25, 2021, (the

   “Collection Letter”) in an attempt to collect the Consumer Debt.

          26.      Attached as Exhibit “A” is a copy of Collection Letter.

          27.      “NELLIE MAE TRST” is not the “original creditor” of the Consumer Debt.

          28.      The Collection Letter falsely identifies “NELLIE MAE TRST” as the “original

   creditor” of the Consumer Debt.

          29.      Defendant’s transmission of Plaintiff’s personal information to the Third-Party is

   an explicit violation of § 1692c(b) of the FDCPA. See Hunstein v. Preferred Collection & Mgmt.

   Servs., No. 19-14434, 2021 U.S. App. LEXIS 11648 (11th Cir. Apr. 21, 2021) (a complete copy

   of the Hunstein opinion is attached as Exhibit “B”).

          30.      The Collection Letter contains bar codes and Quick Response (“QR”) codes, of

   which are located on the lower-left portion of the Collection Letter, that are indicative of

   Defendant’s use of the Third-Party to prepare, print, package, compile, and/or otherwise send the

   Collection Letter.

          31.      For Defendant-DC to maintain a valid consumer collection agency license with the

   Florida Department of State (so to otherwise lawfully collect, or attempt to collect, consumer debts

                                                                                                                 PAGE | 4 of 8
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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 8 of 14




   from Florida consumers) Defendant-DC knew it was required to tailor its (Defendant-DC’s) debt

   collector methods to be in compliance with both the FDCPA and FCCPA.

          32.      Defendant knew that the Transmitted Information constituted an unlawful

   transmission of Plaintiff’s personal information in violation of § 1692c(b) of the FDCPA.

          33.      The Third-Party did not have any legitimate need for the Transmitted Information,

   as the Transmitted Information constituted an unlawful transmission of Plaintiff’s personal

   information in violation of § 1692c(b) of the FDCPA.

                                               COUNT 1
                                     VIOLATION OF 15 U.S.C. § 1692c(b)

          34.      Plaintiff incorporates by reference paragraphs 1-33 of this Amended Complaint.

          35.      Pursuant to § 1692c(b) of the FDCPA, “a debt collector may not communicate, in

   connection with the collection of any debt, with any person other than the consumer, his attorney,

   a consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the

   creditor, or the attorney of the debt collector.” 15 U.S.C. 1692c(b) (emphasis added).

          36.      As set forth above, Defendant’s transmission of Plaintiff’s personal information to

   the Third-Party violates § 1692c(b) of the FDCPA. See Hunstein, No. 19-14434, 2021 U.S. App.

   LEXIS 11648 (“[w]e hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in fact

   under Article III and (2) that the debt collector's transmittal of the consumer's personal information

   to its dunning vendor constituted a communication ‘in connection with the collection of any debt’

   within the meaning of § 1692c(b).”) Accordingly, Defendant violated § 1692c(b) of the FDCPA

   when it transmitted Plaintiff’s personal information to the Third-Party.

          37.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

   against Defendant, awarding Plaintiff the following relief:

                   (a)       Statutory and actual damages as provided by 15 U.S.C. § 1692k;
                                                                                                                 PAGE | 5 of 8
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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 9 of 14




                   (b)       Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k; and

                   (c)       Any other relief that this Court deems appropriate under the circumstances.

                                              COUNT 2
                                   VIOLATION OF 15 U.S.C. § 1692g(a)(2)

          38.      Plaintiff incorporates by reference paragraphs 1-33 of this Amended Complaint.

          39.      Section 1692g(a)(2) of the FDCPA requires that Defendant identify the name of the

   original creditor within the Collection Letter, as the Collection Letter represents Defendant’s initial

   communication with Plaintiff in connection with the collection of the Consumer Debt. Here,

   Defendant identifies a trust (i.e., the “NELLIE MAE TRST”) – something that is legal entity – as

   the original creditor of the Consumer Debt. See Collection Letter at 2. Thus, as stated above, not

   only does the Collection Letter fail to identify the original creditor of the Consumer Debt, but the

   Collection Letter fails to even identify a legal entity capable of being creditor, as a trust is not

   capable of being a creditor.

          40.      Defendant violated § 1692g(a)(2) of the FDCPA by failing to send Plaintiff a

   written notice that, in light of the least sophisticated consumer standard, sufficiently advises of

   name of the creditor to whom the Consumer Debt is owed, in that, the Collection Letter fails to

   identify the true creditor of the Consumer Debt. See Pardo v. Allied Interstate, L.L.C., 2015 WL

   5607646 (S.D. Ind. Sept. 21, 2015) (where collection letter’s body referred to “Resurgent Capital

   Services LP” as Allied Interstate’s “Client,” and offered no explanation of the relationship between

   LVNV and Resurgent Capital or why/how Resurgent Capital was involved with debt, consumer

   stated valid §1692g(a)(2) claim); Shoup v. McCurdy & Candler, L.L.C., 465 Fed. Appx. 882, 883–

   84 (11th Cir. 2012) (listing MERS as the creditor violated FDCPA); Amina v. WMC Mortgage

   Corp., 2011 WL 1869835 (D. Haw. May 16, 2011) (genuine issue of material fact as to whether

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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 10 of 14




   collector properly identified current creditor, especially given multiple entities that use name

   “Chase”); Eun Joo Lee v. Forster & Garbus LLP, 926 F. Supp. 2d 482, 487 (E.D.N.Y. 2013)

   (finding that the plaintiff had stated a plausible claim for the violation of Section 1692g(a)(2)

   because although the letter mentioned NCOP twice, it did “not clearly and effectively convey its

   role in connection with the debt.”); Janetos v. Fulton Friedman & Gullace, LLP, 825 F.3d 317, 321

   (7th Cir. 2016) (the Seventh Circuit found that the defendant's letter had failed to comply with the

   plain language of Section 1692g(a)(2) because “[n]owhere did the letter [s] say that Asset

   Acceptance currently owned the debts in question.”).

          41.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

   against Defendant, awarding Plaintiff the following relief:

                   (a)       Statutory and actual damages as provided by 15 U.S.C. § 1692k;

                   (b)       Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k; and

                   (c)       Any other relief that this Court deems appropriate under the circumstances.

                                             COUNT 3
                                  VIOLATION OF FLA. STAT. § 559.72(5)

          42.      Plaintiff incorporates by reference paragraphs 1-33 of this Amended Complaint.

          43.      Pursuant to § 559.72(5) of the FCCPA, in collecting consumer debts, no person

   shall: “[d]isclose to a person other than the debtor or her or his family information affecting the

   debtor’s reputation, whether or not for credit worthiness, with knowledge or reason to know that

   the other person does not have a legitimate business need for the information or that the

   information is false.” Fla Stat. § 559.72(5) (emphasis added).

          44.      As set forth above, Defendant unlawfully transmitted Plaintiff’s personal

   information, by and through the Transmitted Information, to the Third-Party, whereby said


                                                                                                                 PAGE | 7 of 8
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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 11 of 14




   transmitted information affective Plaintiff’s reputation because the Third-Party did not have any

   legitimate need for unlawfully transmitted personal information of Plaintiff.

          45.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

   against Defendant, awarding Plaintiff the following relief:

                   (a)       Statutory and actual damages pursuant to Fla. Stat. §559.77(2);

                   (b)       An injunction prohibiting Defendant from engaging in further collection
                             activities directed at Plaintiff that are in violation of the FCCPA;

                   (c)       Costs and reasonable attorneys’ fees pursuant to Fla. Stat. §559.77(2); and

                   (d)       Any other relief that this Court deems appropriate under the circumstances.

          DATED: May 17, 2021
                                                                 Respectfully Submitted,

                                                                  /s/ Thomas J. Patti                                    .
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Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 12 of 14




                        EXHIBIT “A”
                        TO THE FIRST AMENDED COMPLAINT
Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 13 of 14
Case 0:21-cv-61178-RKA Document 1-1 Entered on FLSD Docket 06/07/2021 Page 14 of 14
